      Case 23-25897           Doc 3   Filed 12/26/23 Entered 12/26/23 08:23:23                  Desc Deficiency
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Form 726[Deficiency Notice]




                                UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF UTAH


        In re:                                                                   Case No. 23−25897 PH
                 Corbin William Archer and Lisa                                  Chapter 13
                 Ann−Collet Archer
                              Debtor(s).




                                            DEFICIENCY NOTICE
               The Chapter 13 Petition filed with the Court on 12/22/23 was incomplete and/or not
        accompanied by all lists, schedules, statements or other documents required by the United States
        Bankruptcy Code. Federal Rules of Bankruptcy Procedure 1007 and 2016 and Local Rule Bankruptcy
        Rule 1007−1 set forth specific papers that are required to be filed with the Court.

                 DEFICIENCY NOTICE. MISSING PAPERS REQUIRED TO BE FILED: List of
                 Creditors, Chapter 13 Stmt of Current Monthly and Disposable Income,
                 Declaration/Schedules Signatures, Attorney Compensation Disclosure Statement,
                 Chapter 13 Plan, Summary of Assets and Liabilities, Statement of Financial Affairs
                 and Schedules, Incomplete Filings due by 1/5/2024. 11 USC 521(i) Deadline:
                 2/5/2024. (jtt)
                By the due date(s) specified above, you must file the papers listed above with the Clerk of
        Court, United States Bankruptcy Court, 350 South Main Street, Room 301, Salt Lake City, Utah
        84101. The List of Creditors, if not filed with the Voluntary Petition, must be filed not later than two
        (2) days thereafter per Local Rule 1007−1(b). You may file a motion to extend the time for filing
        missing and/or deficient papers and a proposed order. Failure to timely comply may cause your case
        to be dismissed as described below.

                Official Bankruptcy Forms are available at www.uscourts.gov/forms/bankruptcy−forms. The
        100 series of forms are for individuals and the 200 series of forms are for non−individuals. If
        "Outdated/wrong series of forms" is listed as a deficiency, all documents must be filed/refiled using
        Official Form Series (100 or 200) dated 12/15.

                If you fail to file all of the missing and/or deficient papers specified above by the date(s)
        indicated, the United States Trustee or a party in interest may file a motion and schedule a hearing to
        seek dismissal of your case.

                       IMPORTANT − YOUR RIGHTS MAY BE AFFECTED:
         If you fail to file all of the missing and/or deficient papers specified above within 45 days after the
         filing of your bankruptcy petition, your case may be automatically dismissed without further
         notice or hearing. 11 U.S.C. § 521(i)
        Dated: December 26, 2023

                                                             David A. Sime
                                                             Clerk of Court
